Case 1:22-mc-03696-HG-PK Document 13-13 Filed 09/28/22 Page 1 of 2 PageID #: 301




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 May 16, 2022



BY EMAIL: cmayo@mayomallette.com

J. Cal Mayo, Jr.
Mayo Mallette PLLC
2094 Old Taylor Road, Suite 200
Oxford, Mississippi 38655

        Re:     Rosenfeld v. AC2T, Inc.; 1:20-cv-4662 (E.D.N.Y.)
                Deficiencies in Response to Subpoena to Donald Yee

 Dear Mr. Mayo:

         As you know, this firm represents AC2T, Inc. in the lawsuit referenced above. I write
 regarding apparent deficiencies in your client Donald Yee’s response to AC2T’s subpoena in the
 action, including the supplemental production that you made on behalf of Dr. Yee on April 13,
 2022.

         We do not see in Dr. Yee’s production any lab books relating to the study described in
 the Paper. We also do not see documents relating to the chain of custody for the sugar and salt
 used in that study, or the decision to test a solution containing 1.03% salt but not test other salt
 concentrations. Documents relating to the study and its methodology are responsive to Subpoena
 Requests 2 and 3, and should be produced. Documents relating to the salt content levels that Dr.
 Yee tested are also specifically responsive to Request 18. Please produce any such documents,
 or state in writing that Dr. Yee does not have any in his possession, custody, or control.

         There are also categories of communications responsive to the Subpoena that we did not
 see in Dr. Yee’s production. It does not appear that Dr. Yee produced communications with
 persons who provided funding for the study described in the Paper. Those communications
 would be responsive to Request 5. Also, the Paper indicates that it was reviewed by two
 anonymous reviewers, yet it does not appear that communications with those reviewers were
 produced. Such documents would be responsive to Requests 1, 2, 3 and 4. In addition, we did
 not see in the production any communications with University of Southern Mississippi’s Office
 of Research concerning the Paper, the Product, Hirsch, Bonner. Such documents would be
 responsive to Request 11 and 19. All such documents should be produced. Again, if Dr. Yee
 maintains that he does not have any of these documents in his possession, custody, or control,
 please state that in writing.




                                                   "M"
Case 1:22-mc-03696-HG-PK Document 13-13 Filed 09/28/22 Page 2 of 2 PageID #: 302




 May 16, 2022
 J. Cal Mayo, Jr.
 Page 2

         In addition, the documents produced to date reference a Twitter account that Dr. Yee
 uses, but no documents from this account were included in the production. To the extent he
 posted or received messages on his Twitter account that are responsive to the Subpoena, those
 should also be produced. Similarly, if he has communications or postings on other social media
 (Facebook, Instagram, etc.) that are responsive to any of the Requests in the Subpoena, they
 should be produced as well.

        I look forward to your response.


                                                           Very truly yours,




                                                           Edward P. Boyle
